
Fourth Lenox Terrace Associates, Petitioner-Landlord-Respondent, 
againstNicholas Pittman, Respondent-Tenant-Appellant.



Tenant appeals from an order of the Civil Court of the City of New York, New York County (Leticia M. Ramirez, J.), dated July 13, 2015, which, after a hearing, denied his motion to be restored to possession and for other relief in a holdover summary proceeding.




Per Curiam.
Order (Leticia M. Ramirez, J.), dated July 13, 2015, affirmed, without costs.
The hearing evidence, fairly interpreted, supports the court's finding that tenant breached the parties' probationary stipulation in this chronic rent delinquency holdover proceeding, by making several late payments, as well as payments for less than the stipulated amount. In this posture, we find no abuse of discretion in the denial of tenant's application for post-eviction relief (see Wadsworth Ventura Assoc. v Frias, 101 AD3d 474 [2012]; Henry Hudson Gardens, L.L.C. v Bareda, 25 AD3d 466 [2006]). 


THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: April 22, 2016










